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          U.S. DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                            (Southern Division)

PAUL H. GEFFERT                      :
ELIZABETH GEFFERT                    :
4312 Locust Lane                     :
Bethesda, MD 20816                   :
                                     :
        On Their Behalf and on       :
        Behalf of a Class of         :
        Persons Similarly            :
        Situated                     :
                                     :
        Plaintiffs                   :
                                     :
v.                                   :
                                 :           Case No.   _________________
AMERICAN HOME                    :
MORTGAGE SERVICING INC. :
    Serve on:                    :
    The Corporation Trust        :
    Incorporated, Resident Agent :           DEMAND FOR JURY TRIAL
    300 East Lombard Street      :
    Suite 1400                   :
    Baltimore, MD 21202          :
                                 :
                                 :
    Defendants                   :

                                     COMPLAINT

        Paul Geffert and Elizabeth Geffert (“Named Plaintiffs” or “the Gefferts”),

individually and on behalf of a class of people similarly situated, hereby sue American

Home Mortgage Servicing Inc. (“AHMSI” or “Defendant”) and for cause state:

1. AHMSI, through their authorized agents, affiliates, and attorneys, have filed and

     prosecuted illegal foreclosure, collection actions against the Named Plaintiffs and

     class members throughout the State of Maryland. The collection practices are illegal

     because papers filed in the foreclosures of class members and Named Plaintiffs are



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   “robo-signed” and bogus; or because the foreclosures violate the mandatory legal

   requirements of Maryland’s foreclosure laws and rules of procedure.

2. Plaintiffs are members and representatives of the “Class” (as defined in ¶ 43 below)

   which consists of Maryland residents that AHMSI, through its authorized attorneys

   and/or Substitute Trustees in Maryland, initiated foreclosure proceedings against

   Plaintiffs by using improper and deceptive papers which were robo-signed and

   false—in other words what the papers submitted by AHMSI’s agents to Maryland

   courts were not what they purported to be and were frauds on the court.

3. These illegal foreclosure cases, based on the false papers, are reported in the public

   records and credit reports of the Plaintiffs and Class members which result in

   damages such as lower credit scores by the major credit bureaus who report the illegal

   and bogus foreclosure actions filed on behalf of AHMSI that are part of the public

   records of each county in the State of Maryland as a negative consequence on the

   Plaintiffs and Class Members’ credit reports.

4. Plaintiffs have also been harmed, damaged, and injured by AHMSI individually by

   failing to provide, as required as a Maryland licensed mortgage servicer, Plaintiffs

   with prompt and accurate accountings of the amount owed when sought from

   Defendant.

5. The systemic problems identified herein are equally troubling since AHMSI has

   received an infusion of government cash from taxpayers, like the Gefferts, to provide

   incentives to participate in the Making Home Affordable Program of the U.S.

   Treasury Department. Upon information and belief the taxpayers’ presently have

   paid more than a $133 million to AHMSI through incentive payments paid by the


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   U.S. Department of Treasury. This belief is based upon public reports reported on

   financialstability.gov and other pubic sources.

6. These unfair and deceptive acts by AHMSI constitute violations of the MARYLAND

   MORTGAGE FRAUD PREVENTION ACT (“MMFPA”), MARYLAND CONSUMER

   PROTECTION ACT (“MCPA”), MARYLAND CONSUMER DEBT COLLECTION ACT

   (“MDCDCA”), and the common law of Maryland.

                             JURISDICTION & VENUE

7. This Court has jurisdiction and venue of the matters asserted herein for the

   following reasons:

  a. On the basis of diversity of citizenship and in light of the amount in controversy

      is in excess of $75,000 exclusive of costs. 28 U.S.C. § 1332;

  b. The matters asserted herein in light of a federal question presented. 28 U.S.C. §

      1331.

  c. Pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d), 1453, &

      1711-1715 since the amount in controversy exceeds $5,000,000 and the

      members of the Class are citizens of a state different from the Defendant.

  d. Declaratory and injunctive relief are available pursuant to 28 U.S.C. §§ 2201 and

      2202, Md. Code Ann., §§ 3-401-3-415, and Fed. Rule Civ. Proc. 23;

  e. Venue is appropriate in this district because the Defendants conduct debt

      collection business within the District and because the conduct complained of

      occurred within the District.

                                       PARTIES

8. Paul Geffert and Elizabeth Geffert are residents of the State of Maryland and the


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   owners of the real property commonly known as 4312 Locust Lane, Bethesda, MD

   20816 (“the Property”).

9. Defendant American Home Mortgage Servicing Inc. is a Maryland licensed Mortgage

   lender/servicer (license number 18137).         The resident agent for AHMSI is The

   Corporation Trust Incorporated located at 300 East Lombard Street, Suite 1400

   Baltimore, MD 21202. AHMSI is a Delaware corporation.

10. Not named as a party to this action, Lender Processing Services (“LPS”), is an agent

   of AHMSI for all relevant periods alleged herein.       AHMSI delegated authority to

   LPS to perform certain collection practices services on its behalf and it has accepted

   responsibility for LPS’ bogus signatory practices alleged herein.

11. Not named as parties to this action, Jacob Geesing, Howard Bierman, and Carrie

   Ward and the law firm of Bierman, Geesing, Ward, & Wood (collectively “BGW”)

   are the authorized agents of AHMSI and affiliates of LPS.

                                         FACTS

       A.             THE FORECLOSURE CRISIS


12. Over the last four years, Maryland and the United States has been in a foreclosure

   crisis. Recent news reports have established that one in ten American homes is at risk

   of foreclosure.

13. The number of Maryland properties with foreclosure filings has increased

   substantially throughout the last four years.

14. Increased foreclosures have a detrimental effect not just on the borrowers through

   damage to credit and reputation as well as emotionally with fear of losing a unique

   property and the prospect of homelessness, but also on the surrounding

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   neighborhoods that suffer decreased property values and municipalities that lose tax

   revenue.

15. The foreclosure crisis is not over. Economists predict that the high rate of

   foreclosures will continue through the next five years or more.

16. Since the commencement of the crisis, revelations of bogus, false, and deceptive

   “robo signing” have come to light involving national lenders and mortgage servicers.

   In Maryland the illegal “robo-signing” issue has even come to the forefront because

   attorneys and substitute trustees, including those acting on behalf of AHMSI in the

   Gefferts’ illegal foreclosure actions (discussed below) have admitted that they filed

   bogus documents in hundreds of foreclosure cases filed in state courts.

       B.      MARYLAND’S RESPONSE TO THE FORECLOSURE CRISIS


17. In 2007 at the beginning of the crisis, Governor O’Malley convened a task force of

   representatives to address the crisis that was then underway. The Maryland

   Homeownership Preservation Task Force produced a report which aptly summarized

   the devastating effect of foreclosures on the community as follows:

               Foreclosures have a devastating effect on homeowners and the
               communities in which they live. Frequently, a homeowner who
               loses his or her home to foreclosure loses the accrued equity. A
               property sold in a foreclosure sale typically draws a lower price
               than it would in a regular market sale. In the first half of 2005,
               Maryland’s “foreclosure discount” was 18.8 percent, according the
               St. Ambrose Housing Aid Center, Inc. This is a tragedy for a
               growing number of Maryland families.

               Extensive damage is felt in neighborhoods and communities
               across Maryland. Research shows that with every foreclosure on a
               single family home, the value of homes within an eighth of a mile
               declines by about nine-tenths of a percent. Property tax revenues
               decline proportionally, causing a negative impact on state and
               local governments. A study of foreclosures in Chicago in 2005

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               estimated that a single foreclosure costs city government up to
               $5,000 or more.

               Foreclosures also bring with them the potential for more violent
               crime. Research indicates that for every single percentage point
               increase in the foreclosure rate in a neighborhood, violent crime
               in that neighborhood increases by about two percent. Foreclosures
               can lead to vacant or neglected properties, which create an
               eyesore and become targets for vandalism. This can tip a
               community from one dominated by homeowners to one
               dominated by investors.

               Of course, the lending industry and investors also take a hit from
               rising foreclosure rates. Some major lenders have closed their
               doors, declared bankruptcy or shuttered their subprime lending
               arms as a result of the waning demand for risky mortgage
               products in investor markets. Lenders typically lose $50,000 or
               more on a single foreclosure, according to information from St.
               Ambrose Housing Aid Center, Inc. The banking industry cites a
               figure well over $60,000.

       Maryland Homeownership Preservation Task Force Report at 12 (November 29,

       2007) available at

       http://www.gov.state.md.us/documents/HomePreservationReport.pdf (footnotes

       omitted).


18. To reasonably address and avoid some of the negative consequences of foreclosure,

   the Task Force Report made nine general recommendations that are relevant to the

   issues before the Court. See Id. at 40-43. Included among these was a specific

   recommendation, which included the adoption of a good faith and fair dealing

   standard of care for Maryland licensed mortgage entities such as the Defendant. Id.

   (recommendation 7.3).

19. In response to the expanding foreclosure crisis and the Task Force Report, the

   General Assembly introduced and passed several bills during the 2008 legislative


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session to change Maryland’s foreclosure process and curb certain predatory real

estate processes. These bills were passed with nearly complete bi-partisan support.

As summarized in the General Assembly’s 90 Day Report for the 2008 session:

           Until [2008], Maryland’s foreclosure process, from the first
           foreclosure filing to final sale, had been among the shortest in the
           nation. Maryland is a quasi-judicial State, meaning that the
           authority for a foreclosure sale is derived from the mortgage or
           deed of trust, but a court has oversight over the foreclosure sale
           process. Most mortgages or deeds of trust include a “power of
           sale” (a provision authorizing a foreclosure sale of the property
           after a default) or an “assent to decree” (a provision declaring an
           assent to the entry of an order for a foreclosure sale after a
           default). Under the Maryland Rules, it was not necessary to serve
           process or hold a hearing prior to a foreclosure sale pursuant to a
           power of sale or an assent to a decree. Consumer advocates
           contended that the short timeframes and weak notice provisions in
           State law seriously limited a homeowner’s options to avoid
           foreclosure by, for example, working out a payment plan with the
           lender or selling the house. In addition, filing a request for an
           injunction to stop the sale is expensive, time consuming, and not a
           realistic option for most homeowners.

           Senate Bill 216 (Ch. 1)/House Bill 365 (Ch. 2), emergency
           legislation that took effect April 4, 2008, make a number of
           significant changes to the foreclosure process in Maryland for
           residential real property. “Residential property” is defined under
           the Acts to mean real property improved by four or fewer single-
           family dwelling units. Except under specified circumstances, the
           Acts prohibit the filing of an action to foreclose a mortgage or
           deed of trust on residential property until the later of 90 days after
           a default in a condition on which the mortgage or deed of trust
           states that a sale may be made or 45 days after the notice of intent
           to foreclose required under the Acts is sent.

           ....

           Senate Bill 217/House Bill 360 define “mortgage fraud” as any
           action by a person made with the intent to defraud that involves:
           • knowingly making, using, or facilitating the use of any
           deliberate misstatement, misrepresentation, or omission during the
           mortgage lending process with the intent that it will be relied
           upon by a mortgage lender, borrower, or any other party to the
           lending process;

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                 • receiving any proceeds or any other funds in connection with a
                 mortgage closing that the person knows resulted from the
                 aforementioned actions;
                 • conspiring to violate either of the preceding provisions; or
                 • filing or causing to be filed in the land records in the county
                 where a residential real property is located any document relating
                 to a mortgage loan that the person knows to contain a deliberate
                 misstatement, misrepresentation, or omission.

                 Under the Acts, the “mortgage lending process” includes the
                 solicitation, application, origination, negotiation, servicing,
                 underwriting, signing, closing, and funding of a mortgage loan, as
                 well as the notarizing of any document in connection with a
                 mortgage loan.


   Md. Dept. of Legislative Services, The 90 Day Report, A Review of the 2008

   Legislative       Session,      F16-18       (April     11,     2008)       available    at

   http://mlis.state.md.us/2008rs/90-Day-report/index.htm.


20. The Maryland Court of Appeals recently adopted in October 2010 an emergency rule

   to deal with the robo-signing issue based upon the recommendation of the Standing

   Committee on Rules of Practice and Procedure. Writing for the Committee the

   Honorable Alan M. Wilner explained:

                 The need for these changes emanates from recent revelations
                 regarding the filing in residential foreclosure actions of affidavits
                 as to which the affiant either did not have sufficient knowledge of
                 the facts stated in the affidavit to validly attest to their accuracy or
                 did not actually read or personally sign the affidavit. Preliminary
                 audits have shown that hundreds of such affidavits have been filed
                 in Maryland circuit courts. Up to this point, courts, with good
                 reason and really of necessity, have relied on the accuracy of
                 affidavits, especially when filed by attorneys, unless there is
                 something on the face of the document to suggest otherwise or the
                 validity of the affidavit is challenged. Evidence that has recently
                 come to light, largely through admissions under oath by the
                 affiants themselves, has shaken the confidence that the courts have
                 traditionally given to those
                 kinds of affidavits.

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              In the Committee’s view, the use of bogus affidavits to support
              actions to foreclose liens on property, apart from prejudice to the
              homeowners, constitutes an assault on the integrity of the judicial
              process itself.

       Letter from A. Wilner to the Court of Appeals, Oct. 15, 2010.

21. In further response to the foreclosure crisis, Maryland Commissioner of Financial

   Regulation required for its licensees, including AHMSI, “a duty of good faith and fair

   dealing in communications, transactions, and course of dealings with a borrower in

   connection with the…servicing…of any mortgage loan…” Md. Code Regs.

   09.03.06.20.

22. Upon information and belief, part or all of the compensation paid by AHMSI, directly

   and indirectly through LPS, to Jacob Geesing, Howard Bierman, and Carrie Ward

   (collectively “BGW”) to act as its authorized substitute trustees and attorneys is

   contingent upon how rapid or quickly BGW conducts the foreclosure action. The

   faster BGW processes foreclosures for AHMSI, the higher the compensation and/or

   the greater number of referrals/future business sent to BGW by AHMSI. This

   payment arrangement leads directly and indirectly to the improper, deceptive, and

   bogus papers, affidavits, and other documents in BGW’s foreclosure actions on

   behalf of AHMSI which are not in conformance with Maryland law since BGW could

   only retain AHMSI’s business by carrying out this business model described on a

   high volume basis using non-lawyers and non-notaries to sign legal papers.

       C.     AHMSI HAS MADE JUDICIAL ADMISSIONS CONCERNING ITS
              RELATIONSHIP WITH LPS AND THOUSANDS OF BOGUS
              FORECLOSURES AROUND THE COUNTRY


23. In a public filing in the District Court of Dallas County, Texas, American Home

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   Mortgage Servicing, Inc. v. Lender Processing Services, Inc. et al., Case No. 11-

   10440 (Filed August 23, 2011)(“AHMSI v. LPS”), AHMSI has made significant

   admissions in a judicial proceeding that are relevant to and directly relate to the facts

   alleged herein concerning the debt collection practices of AHMSI and LPS.

24. In AHMSI v. LPS, AHMSI admits that LPS directly and indirectly through is

   subsidiary and affiliates “improperly executed, notarized, and recorded thousands of

   assignments upon which AHMSI relied in the course of pursing foreclosure

   proceedings.” AHMSI v. LPS, Preliminary Statement at Page 1.

25. “As the servicer, AHMSI provides a wide array of services to the [owners of the loans

   it services], including, but not limited to, collecting principal, interest, tax, and

   insurance payments from homeowners and, when necessary, initiating foreclosure

   proceedings on behalf of the [owner of] the loan.” AHMSI v. LPS ¶ 10.

26. LPS, acting on behalf of AHMSI, “allowed [its] employees other than those

   appointed as Special Officers of AHMSI to execute certain assignments on the

   Special Officers’ behalf. Instead of signing their own names, the [unauthorized]

   surrogates signed the names of the Special Officers, meaning the person whose name

   appeared on the…documentation was not the person who appeared before the witness

   or notary. Notaries working under [LPS’] direction and control improperly notarized

   the assignments containing signatures of surrogates rather than the Special Officers

   authorized by AHMSI to sign the documents. The delegation of signing authority to

   surrogates exceeded the scope of [LPS’] authority under AHMSI’s corporate

   resolutions. As a consequence, the assignments executed by the surrogates did not

   comply with Defendants’ contractual obligations.” AHMSI v. LPS ¶ 21.


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27. “On November 16, 2009, AHMSI’s board approved” a resolution of signing authority

   to LPS employees acting as “Special Officers to the ministerial act of executing

   mortgage assignments and other designated documents.” AHMSI v. LPS ¶ 24.

   However, that resolution did not permit “the delegation of that signature authority to

   surrogates.” Id.

28. LPS admitted to AHMSI in “late November 2009…[that LPS’] agents surrogate

   signed more that 30,000 assignments of mortgage relating to properties in all 50 states

   and the District of Columbia.” AHMSI v. LPS ¶ 25.

29. LPS has admitted to AHMSI that certain notarizations in foreclosure documents

   executed by LPS on behalf of AHMSI “contained a notarization error” and certain

   foreclosure papers “may have contained errors in their execution.” AHMSI v. LPS ¶¶

   34-35.

   C. BACKGROUND ON THE NAMED PLAINTIFFS

30. At all times relevant to this complaint, the Gefferts have lived at the Property.

31. The servicing rights of the Gefferts’ home mortgage loan related to the Property were

   transferred from Citi Residential Lending, Inc. to AHMSI. Upon transfer, AHMSI

   did not accurately and correctly report the status and accounting of the Geffert loan.

   AHMSI has not accurately and correctly reported the status and accounting of the

   Gerrert loan. However, AHMSI believed at the time of transfer that the Gefferts were

   then in default based upon the electronic records it received from its assignor.

32. Not known or apparent to the Gefferts until October 2011, AMHSI had actually filed,

   through BGW, a bogus Order to Docket in the Circuit Court of Montgomery County,

   Maryland against them in an attempt to collect a debt related to the Property. There


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   was no way for the Gefferts to know that the documents were bogus. There was no

   indication that someone was signing the documents other than the person(s) identified

   with the signature.

33. Through its authorized attorneys BGW, AHMSI authorized the foreclosure case as a

   consent decree foreclosure action in furtherance of its efforts to collect a debt against

   from the Gefferts in the Circuit Court of Montgomery, Maryland on January 4, 2010

   (Case No. 325019-V)(“First Order to Docket Action”). A consent decree foreclosure

   under the Maryland Rules permits a bona fide secured party to commence a

   foreclosure action without having to proceed through a longer judicial process.

   Essentially, the state court entrusts to certain Members of the Bar acting as officers of

   the Court and substitute trustees for secured parties, the responsibility to comply with

   certain mandatory prerequisites on behalf of the Court—thereby assuming substantial

   responsibilities from the state court clerks and judges. In this case, BGW did not act

   within that scope of authority granted by the state courts for several reasons including

   AHMSI’s business relationship with BGW through LPS as described in the above

   paragraphs.

34. As part of the Order to Docket papers filed with the Court in the First Order to

   Docket Action authorized by AHMSI against the Gefferts, the Affidavit of Deed of

   Trust Debt, Certification of Deed of Appointment of Substitute Trustee, and Affidavit

   of Non-Military Service in the Order to Docket were purportedly signed with the

   name “Jacob Geesing” (as an authorized agent of AHMSI) but in fact were not signed

   by him. This belief is based on signature purporting to be Jacob Geesing’s actual

   signature related to publically filed documents related to a Maryland property located


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   at 6400 East Halbert Road, Bethesda, Maryland. This belief is also based upon the

   “Corrective Affidavits” signed by Jacob Geesing in the Class member foreclosure

   actions filed by BGW on behalf of AHMSI as well as his admissions that he did not

   sign many papers that were filed as if he had signed the documents.

35. Included among the bogus Order to Docket filed by AHMSI’s representatives against

   the Gefferts were also an Affidavit of Deed of Trust Debt and Affidavit of Non-

   Military Service in the Order to Docket were allegedly notarized by Rodnita Moulton

   (“Moulton”).

36. On or about August 5, 2010, the Maryland Office of the Secretary of State

   decommissioned Moulton’s notary commission because it was disclosed that she had

   participated in the false notarizations at BGW on behalf of the consumer debt

   collection practices on behalf of AHMSI in the First Order to Docket Action.

37. On or about October 22, 2010, Geesing filed a Substitute Trustees’ Verified Response

   in Opposition to Defendants’ Emergency Request for Consideration of Defendants’

   Renewal of Verified Motion to Dismiss Plaintiffs’ Foreclosure Action or

   Alternatively for a Stay Pending Further Proceedings Under New Rule 14-207.1 in an

   unrelated case involving AHMSI, i.e. Geesing v. Willson (Circuit Court for Howard

   County, Case No. 13-C-10-082594).

38. Neither Geesing’s signature on the deed of trust related to his own home nor the

   signature on the Substitute Trustees’ Verified Response in Opposition to Defendants’

   Emergency Request for Consideration of Defendants’ Renewal of Verified Motion to

   Dismiss Plaintiffs’ Foreclosure Action or Alternatively for a Stay Pending Further

   Proceedings Under New Rule 14-207.1 match the signature on the Order to Docket


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   and other papers in the First Order to Docket Action filed against the Gefferts and the

   Property.

39. Upon information and belief, the Geffert Order to Docket in the First Order to Docket

   Action is bogus because someone other than Geesing signed for him swearing the

   truth of certain facts and Moulton fraudulently notarized that Geesing “personally

   appeared” before her and signed the Affidavit of Deed of Trust Debt and

   Certification Regarding Debt Instrument in the First Order to Docket Action. This

   belief is based upon published reports concerning attorney robo-signing practices in

   Maryland including those admitted to by BGW to numerous state courts.

40. Until the Gefferts retained counsel in October 2011, they had no idea that AHMSI’s

   authorized attorneys BGW had used unfair, bogus, and deceptive signing practices to

   improperly obtain the jurisdiction of the state court in an effort to collect a consumer

   debt from the Gefferts.

41. Until the Gefferts retained counsel in October 2011, they had no idea that LPS had

   utilized unfair, bogus, and deceptive signing practices to improperly obtain

   assignments of the Gefferts loan for AHMSI which was the basis for commencing

   and maintaining the First Order to Docket Action as alleged and admitted to in the

   AHMSI v. LPS action.

42. The Gefferts have been damaged by AHMSI’s and LPS’ direct and indirect actions,

   including those by their authorized and affiliated substitute trustees and attorneys

   BGW, described herein through: (i) the improper commencement and prosecution of

   the First Order to Docket Action against them that has damaged their credit by the

   public filing of a bogus action in the state court which cannot be expunged; (ii) cost


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   them fees and costs to their mortgage account charged by AHMSI to which the

   services provided and charged to their account were not bona fide or otherwise legal;

   and (iii) emotional damages due to stress, anxiety, fear, and other physical

   manifestations.

                         FACTS COMMON TO THE CLASS

43. The class claims asserted herein are brought by the Gefferts on behalf of themselves

   and a Class of all Maryland residents who were (i) an owner-occupant of residential

   property in the State of Maryland; (ii) subject to a foreclosure action docketed by

   Howard Bierman, Jacob Geesing, or Carrie Ward on behalf of AHMSI based upon an

   assignment prepared by LPS; and (iii) during the foreclosure proceeding, Howard

   Bierman, Carrie Ward, or Jacob Geesing supported the foreclosure action through the

   filing of one or more bogus documents. This shall be referred to as the “Class”.

44. Named Plaintiffs sue on their own behalf and on behalf of the people who comprise

   the Class under FED. RULE CIV. PROC. 23.

45. Named Plaintiffs do not know the exact size or identities of the proposed Class.

   However, the size and identify of the Class can easily be identified from the records

   of the Defendants and their attorneys BGW as well as public records available in state

   courts.

46. Upon information and belief the Class encompasses more than 50 individuals based

   upon public records filed in the circuit courts of the State of Maryland and reported

   by AHMSI and BGW to the Office of the Commissioner of Financial Regulation.

47. All members of the Class have been subject to and affected by the same conduct. The

   claims are based on the same actions. There are questions of law and fact that are


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common to the Class, and predominate over any questions affecting only individual

members of the Class. These questions include, but are not limited to the following:

       a.            whether AHMSI’s foreclosure actions through

            improper papers and affidavits by its authorized substitute

            trustees/attorneys, BGW, and LPS have any legal effect;

       b.            whether Defendants’ conduct through its authorized substitute

            trustees/attorneys, BGW, amounts to “unclean hands”;

       c.            whether Defendants’ conduct violates the Maryland Consumer

            Protection Act (“MCPA”), MD CODE ANN., COM. LAW, § 13-101,ET SEQ.;

       d.            whether Defendants’ conduct violates the MARYLAND CONSUMER

            DEBT COLLECTION ACT (“MDCDCA”), MD CODE ANN., COM. LAW, § 14-

            201, ET SEQ.;

       e.            whether Defendants’ conduct violates the MARYLAND MORTGAGE

            FRAUD PREVENTION ACT (“MMFPA”), MD CODE ANN., REAL PROP., § 7-

            401, ET SEQ.;

       f.            whether the Defendants should be enjoined from continuing to

            pursue foreclosure actions, directly or indirectly, in Maryland based upon

            bogus affidavits and papers;

       g.            whether the Defendants should be ordered to refund to Class all

            legal fees and expenses assessed as part of the bogus foreclosure action

            against them by AHMSI and its authorized agents and affiliates;

       h.            the attorney fees, litigation costs, and court costs allowed and

            claimed in this civil action;


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           i.           whether AHMSI’s actions through its agents and attorneys BGW

                and LPS were authorized by Maryland Courts;

           j.           the declaratory relief sought in this civil action; and

           k.           the injunctive relief sought in this civil action.

48. The claims of the Named Plaintiffs are typical of the claims of the class and do not

   conflict with the interests of any other members of the class in that both the Named

   Plaintiffs and the other members of the class were subject to the same conduct.

49. The Gefferts’ claims are typical of the claims of members of the Class.

50. The Named Plaintiffs are similarly situated with and have suffered similar damages as

   the other members of the Class as described in ¶¶ 3-4, 22, 31-32, and 42-43.

51. The Named Plaintiffs will fairly and adequately represent the interests of the Class.

   They are committed to the vigorous prosecution of the class claims and have retained

   attorneys who are qualified to pursue this litigation and have experience in class

   actions – in particular, consumer protection actions related to Maryland’s foreclosure

   laws and procedures.

52. A class action is superior to other methods for the fast and efficient adjudication of

   this controversy. A class action regarding the issues in this case does not create any

   problems of manageability.

53. This putative class action meets all of the requirements of FED. RULE CIV. PROC. 23.

54. The Defendants have acted or refused to act on grounds that apply generally to the

   class so that final injunctive relief or corresponding declaratory relief is appropriate

   respecting the class as a whole.

55. It would not be economically feasible for each of the individual Class members to


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   maintain similar claims since many of them have already suffered financial setbacks.

56. The damages of each individual Class member can be calculated using the same

   common formulas and are similar in nature as those as the Gefferts identified in ¶¶ 3-

   4, 22, 31-32, and 42-43.

57. Failure to join the claims of each individual claimant into class claims would lead to

   duplicate claims/litigation involving the same issues and facts, excessive costs and

   fees, burdens and potentially inconsistent outcomes.

58. The common issues set forth above predominate and asserting the claims on a class

   basis is superior to the alternative.

59. AHMSI is presumed to know of all BGW’s activities on its behalf in the state

   foreclosure actions against the Named Plaintiffs and Class Members even if it never

   reviewed what BGW did on its behalf. Putnam v. Day, 89 U.S. 60, 22 L. Ed. 764

   (1874); Salisbury Beauty Sch. v. State Bd. of Cosmetologists, 268 Md. 32, 300 A.2d

   367 (1973); Bob Holding Corp. v. Normal Realty Corp., 223 Md. 260, 266, 164 A.2d

   457, 460 (1960).

60. Further, based upon the admissions of AHMSI on its website, it’s knowledge of

   BGW’s and LPS’ activities on its behalf also arises from its quarterly review

   concerning the performance of BGW and LPS on at least a quarterly basis as well as

   regular communications between AHMSI and its attorneys including BGW.

61. Finally, AHMSI’s knowledge of BGW’s activities on its behalf is also known to it

   through the compensation structure it provided to BGW to perform the services

   necessary to complete a foreclosure action in the State of Maryland throughout the

   last three years. Those necessary and required services have increased dramatically


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   yet AHMSI has not substantially increased its fees payable to BGW given the

   increased amount of work necessary to properly conduct foreclosures. This disparity

   has resulted in BGW practices on behalf of AHMSI that are subject to this lawsuit.

62. If the Court determines that the Named Plaintiffs’ Class claims for damages cannot be

   maintained on a class-wide basis, the Gefferts request the Court in the alternative to

   certify this action with respect to particular issues identified in ¶ 47 above. See FED.

   RULE CIV. PROC. 23(c)(4).

63. There was no reasonable possibility that any of the parties affected by these actions

   could have known of the defects in the affidavits, papers, deeds, and other documents

   which claimed to have been executed by the Defendants. Maryland courts and the

   clerks of the courts had not discovered the fraudulent nature of thousands of these

   documents despite daily review of such documents. The Plaintiffs only became

   aware of the nature of the documents in October 2011.

64. The Plaintiffs had no reason to suspect the true illegal nature of the illegal, unfair,

   deceptive and unconscionable debt collection practices of the Defendant alleged

   herein because the state courts and judicial officers and thousands of other Maryland

   consumers could never have considered that have predicted the scale of the bogus

   practices involved in this action. This conclusion is based in part on the statement of

   the Rules Committee of the Maryland Judiciary to the Maryland Court of Appeals

   that the acts alleged herein “constitutes an assault on the integrity of the judicial

   process.”

65. This case is one of those rare instances where circumstances external to the conduct

   of the Named Plaintiffs and the Class members warrant a finding that it would be


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   unconscionable to enforce the various federal and state limitations periods against the

   Named Plaintiffs and Class members since such an act would create a gross injustice

   of allowing the Defendant to wrongfully and unjustly enriched to the detriment of the

   Plaintiffs and Class members in a total sum of hundreds of thousands of dollars. Of

   course, each of these dol lars was passed on to the victims as the costs of the improper

   foreclosures.

 COUNT ONE – VIOLATION OF MARYLAND’S CONSUMER PROTECTION

                   ACT, MD. CODE ANN. COM. LAW § 13-101 et. seq.

                        (INDIVIDUAL AND CLASS CLAIMS)

66. The mortgage loan servicing, transactions and foreclosure practices as set forth

   herein of the Defendant against the Named Plaintiffs and Class members are

   governed by the Consumer Protection Act, MD. CODE ANN. COM. LAW § 13-101 et.

   seq.

67. Section 13-303 prohibits unfair or deceptive trade practices in the extension of

   consumer credit or collection of consumer debts. The prosecution of a foreclosure

   action involves the collection of debts.

68. The Maryland Consumer Protection Act defines unfair or deceptive trade practices to

   include, inter alia, the following: (a) False, falsely disparaging, or misleading oral or

   written statement, visual description, or other representation of any kind which has

   the capacity, tendency, or effect of deceiving or misleading consumers; and (b)

   Failure to state a material fact if the failure deceives or tends to deceive.

69. By engaging in the acts and omissions set forth above, by making the

   misrepresentations set forth above, and by failing to disclose material facts where the


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   failure to do so deceived or tended to deceive, the Defendant has committed unlawful

   or deceptive trade practices in violation of the Maryland Consumer Protection Act.

   Sec. 13-301(1) and (3) and Sec. 13-303(4) (“MCPA”).

70. The Defendant’s conduct, as set forth above, had the capacity, tendency or effect of

   deceiving the Gefferts and other Class members, who in fact were deceived or misled,

   causing injury and loss through:

  a. the unfair or deceptive prosecution, based upon bogus papers and affidavits, of a

      foreclosure action by Defendant through its authorized substitute trustees/attorneys

      BGW and LPS; and

  b. the Defendant’s payment structure and relationship with BGW as described above

      “infected” and “exasperated” the use of bogus papers and foreclosure practices of

      BGW since unless BGW met AHMSI’s goals, it could not receive future work and

      the only way to perform the services necessary for AHMSI as a for profit business,

      which is how BGW is organized, was to use non-attorney signers for Bierman,

      Geesing, and/or Ward. Hoffman v. Stamper, 385 Md. 1, 32, 867 A.2d 276, 294

      (2005).

71. The Named Palintiffs and Class have been damaged as described herein.

72. In addition to its direct liability pursuant to this claim, AHMSI is alternatively

   responsible as BGW’s and LPS’ principal in the foreclosure actions brought on its

   behalf. Under Maryland law, however, “‘[a] principal is prima facie liable for the

   acts of his agent done in the general course of business authorized by him.’ Carroll, 3

   A. at 29.” Winemiller v. Worldwide Asset Purchasing, LLC, 1:09-CV-02487, 2011

   WL 1465571, *3 (D. Md. Apr. 15, 2011).


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       WHEREFORE, the Gefferts request the following on their behalf and on behalf of

       Class:

       A. They and the class be awarded as part of this claim a sum of no less than

           $5,000,000 which represents their compensatory damages as a result of the

           Defendant’s, direct and indirect, unfair or deceptive practices, said sum may

           be amended;

       B. The Court certify the Class and appoint the Plaintiffs as class representatives

           and their counsel as Class Counsel;

       C. They be awarded their reasonable attorney’s fees and costs; and

       D. That their claim should include such other and further relief as the Court

           deems just and proper.

     COUNT TWO: VIOLATION OF THE MARYLAND CONSUMER DEBT

         COLLECTION ACT, MD. ANN. CODE, COMM. LAW ART. § 14-202

                        (INDIVIDUAL AND CLASS CLAIMS)

73. The Plaintiffs adopt by reference the allegations contained in paragraphs 1 through

   72 of this Complaint with the same effect as if herein fully set forth.

74. By authorizing the filing debt collection foreclosure proceedings and/or conducting

   foreclosure actions based upon bogus or insufficient papers and affidavits through its

   authorized substitute trustees/attorneys BGW and LPS, the Defendant has asserted a

   claim with knowledge that the right does not exist in violation of Md. Ann. Code,

   Comm. Law Art. § 14-202 (8).

75. The requisite knowledge that is required by AHMSI for its liability under the is

   detailed above; alternatively AHMSI is responsible as BGW’s and LPS’ principal in


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   the foreclosure actions brought on its behalf. Under Maryland law, however, “‘[a]

   principal is prima facie liable for the acts of his agent done in the general course of

   business authorized by him.’ Carroll, 3 A. at 29.” Winemiller v. Worldwide Asset

   Purchasing, LLC, 1:09-CV-02487, 2011 WL 1465571, *3 (D. Md. Apr. 15, 2011).

76. The Gefferts and Class seek a remedy under the Maryland Consumer Debt Collection

   Act (“MCDCA”) for damages, attorneys’ fees, and any other relief available against

   the Defendant.

77. The Named Plaintiffs and Class have been damaged as described herein.

        WHEREFORE, the Gefferts request the following on their behalf and on behalf

       of the class:

           A. They and the class be awarded as part of this claim a sum of no less than

               $5,000,000 which represents their compensatory damages as a result of the

               Defendant’s unfair or deceptive practices, said sum may be amended;

           B. The Court certify the Class and appoint the Named Plaintiffs as class

               representatives and their counsel as Class Counsel;

           C. They be awarded their reasonable attorney’s fees and costs;

           D. That their claim should include such other and further relief as the Court

               deems just and proper.

COUNT THREE: MARYLAND MORTGAGE FRAUD PROTECTION ACT, MD.

               ANN. CODE, REAL PROP. § 7-401 MD. REAL PROP., et seq.

                       (INDIVIDUAL AND CLASS CLAIMS)

78. The Plaintiffs adopt by reference the allegations contained in paragraphs 1 through 77

   of this Complaint with the same effect as if herein fully set forth.

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79. The Maryland Mortgage Fraud Protection Act, Md. Ann. Code, Real Prop. § 7-401

   MD. REAL PROP., et seq. (“MMFPA”) governs the relationship between the Defendant

   and the Named Plaintiffs and Class members with transactions that accrued since

   April 4, 2008.

80. MD ANN. CODE., REAL PROP. § 7-401 (c) provides: “Homeowner” means a record

   owner of residential real property. The Plaintiffs and Class Members are record

   owners of the residential properties in question and therefore are Homeowners.

81. MD ANN. CODE., REAL PROP. § 7-401 (e) provides “Mortgage lending

   process…includes [t]he…servicing…of a mortgage loan.”

82. MD ANN. CODE., FINANCIAL INSTITUTIONS CODE. § 11-501 (k)(1) provides: “Mortgage

   loan” means any loan or other extension of credit that is: (i) Secured, in whole or in

   part, by any interest in residential real property in Maryland; and (ii) If for personal,

   household or family purposes, in any amount.”

83. The MMFPA works to protect the interests of all parties to mortgage issues in

   Maryland from misstatements, misrepresentations and omissions; in this instance the

   MMFPA works to protect borrowers like the Gefferts from mortgage companies like

   the Defendant and ensure a level, fair playing field between all borrowers and

   professionals.

84. The Plaintiffs and members of Class were or are homeowners in the Mortgage

   Lending Process as defined by the MMFPA since the actions in dispute in this lawsuit

   involve the servicing of their residential mortgage loans as it relates to the foreclosure

   action which is an attempt to collect a certain sum on the mortgage transaction.

85. MD ANN. CODE., REAL PROP. § 7-401 (d) provides:


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               “Mortgage fraud” means any action by a person made with the intent to

               defraud that involves:

                      1.       Knowingly making any deliberate misstatement,
                               misrepresentation or omission during the mortgage lending
                               process with the intent that the misstatement,
                               misrepresentation or omission be relied on by a mortgage
                               lender, borrower or any other party to the mortgage lending
                               process;
                      2.       Knowingly using or facilitating the use of any deliberate
                               misstatement, misrepresentation, or omission during the
                               mortgage lending process with the intent that the
                               misstatement, misrepresentation, or omission be relied on
                               by a mortgage lender, borrower, or any other party to the
                               mortgage lending process.
                      3.       Receiving any proceeds or any other funds in connection
                               with a mortgage closing that the person knows resulted
                               from a violation of item (1) or (2) of this section;
                      4.       Conspiring to violate any provisions of item of (1), (2) or
                               (3) of this section…

86. The Defendant has committed Mortgage Fraud by:

  a. Knowingly       making,     as     described   herein,   deliberate    misstatements,

      misrepresentations and omissions during the mortgage lending process, including

      the state court foreclosure actions it has commenced and carried out, with the

      intent that the misstatements, misrepresentations and omission be relied on by the

      Plaintiff and Class Members (and the general public and state courts);

  b. Knowingly using or facilitating, as described herein, the use of any deliberate

      misstatements, misrepresentations, and omissions during the mortgage lending

      process, including the state court foreclosure actions it has commenced and carried

      out, with the intent that the misstatements, misrepresentations, and omissions be

      relied on by the Plaintiff and Class Members.

87. The requisite knowledge that is required by AHMSI for its liability under this claim is


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   detailed above; alternatively AHMSI is responsible as BGW’s and LPS’ principal in

   the foreclosure actions brought on its behalf. Under Maryland law, however, “‘[a]

   principal is prima facie liable for the acts of his agent done in the general course of

   business authorized by him.’ Carroll, 3 A. at 29.” Winemiller v. Worldwide Asset

   Purchasing, LLC, 1:09-CV-02487, 2011 WL 1465571, *3 (D. Md. Apr. 15, 2011).

88. Plaintiff and the Class Members have been damaged by the Defendant’s deliberate

   misstatements, misrepresentations, and omissions during the mortgage lending

   process as stated herein. As a result Plaintiff and Class Members have been damaged

   by AHMSI’s commencement of foreclosure actions against them by providing the

   Plaintiff and Class Members with a condition precedent before the commencement of

   that lawsuit—i.e. a valid affidavit or declaration.

89. MD ANN. CODE., REAL PROP. CODE. § 7-401 (g) provides:

       Pattern of mortgage fraud means two or more incidents of mortgage fraud

                      that:

                     Involve two or more residential real properties; and

                     Have similar intents, results, accomplices, victims, or methods of

                      commission or otherwise are interrelated by distinguishing

                      characteristics.

90. Upon information and belief the Defendant has engaged in a Pattern of Mortgage

   Fraud by committing similar acts against two or more Maryland residential properties

   with similar intents, results and methods of commission as that which was committed

   by AHMSI against the Plaintiff and Class Members as described herein.          This belief

   is also based upon the review of public records in the state courts of an identical


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   nature of acts alleged herein.

91. The Named Plaintiffs and Class have been damaged as described herein.

92. In addition to its direct liability pursuant to this claim, AHMSI is alternatively

   responsible as BGW’s and LPS’ principal in the foreclosure actions brought on its

   behalf. Under Maryland law, however, “‘[a] principal is prima facie liable for the

   acts of his agent done in the general course of business authorized by him.’ Carroll, 3

   A. at 29.” Winemiller v. Worldwide Asset Purchasing, LLC, 1:09-CV-02487, 2011

   WL 1465571, *3 (D. Md. Apr. 15, 2011).

       WHEREFORE, the Gefferts request the following on their behalf and the Class:

       A. They and the class be awarded as part of their claims the sum of no less than

           $5,000,000 which represents their compensatory damages as a result of the

           Defendant’s illegal practices and misrepresentations;

       B. The Court certify the Class and appoint the Plaintiffs as class representatives

           and their counsel as Class Counsel;

       C. They be awarded willful and knowing damages up to three times the total

           compensatory damages awarded.;

       D. They be awarded as part of the claim their reasonable attorney’s fees and

           costs; and

       E. That their claim should include such other and further relief as the Court

           deems just and proper.

             COUNT FOUR: DECLARATORY AND INJUNCTIVE RELIEF

                           (INDIVIDUAL AND CLASS CLAIMS)

93. The Plaintiffs adopt by reference the allegations contained in paragraphs 1 through


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    92 of this Complaint with the same effect as if herein fully set forth.

94. Plaintiffs seek a declaration of their rights, as well as the rights of the Class, with

    respect to the state court foreclosure actions the Defendant has commenced based

    upon bogus or insufficient papers and affidavits through its authorized substitute

    trustees/attorneys BGW and LPS.

95. An actual controversy exists as to whether Defendant’s foreclosure efforts violate the

    MCPA, MCDCA, MMFPC, and common law of Maryland.

96. Declaratory relief is appropriate pursuant to Rule 23, MD ANN. CODE., CTS. & JUD.

    PROC., § 3-403, and 28 U.S.C. § 2201.

97. Declaratory relief is also appropriate pursuant to Rule 23(c)(4) since Plaintiffs seek to

    maintain this claim on behalf of the Class for the purpose of determining and

    answering the issue of whether AHMSI has complied with Md. Code Regs.

    09.03.06.20 in regards to its foreclosure practices through BGW and LPS.

98. Plaintiffs are entitled to an injunction since the actions of AHMSI are improper and

    illegal.

99. The public interest is served by enjoining the Defendant from continuing to violate

    the Maryland procedures, regulations, and laws.

100.    The public interest will be further served by mandating that Defendant is

    responsible for the fast-track, illegal foreclosure practices of Defendant’s authorized

    substitute trustees/attorneys based upon bogus or insufficient papers and affidavits.

101.    The foreclosures relate to the homes of the Plaintiffs and other Class members

    and will cause irreparable harm if the Defendant is not enjoined.

102.    The burden imposed on the Defendant by requiring it to comply with Maryland


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foreclosure laws and related regulations concerning the servicing of mortgage loans is

substantially outweighed by the harm suffered by Plaintiffs and Class members by

allowing the Defendant to wrongfully foreclose and ignore Md. Code Regs.

09.03.06.20.

       WHEREFORE, the Gefferts request the following on their behalf and also on

       behalf of members of Class:

           A. Certify this case as a class action pursuant to Rule 23, with the Named

               Plaintiffs as class representatives and their attorneys acting as counsel

               on behalf of the Class described herein;

           B. Order appropriate injunctive relief to rectify past violations of law and

               to prevent further violations of law, including a temporary restraining

               order, preliminary and permanent injunction on any foreclosure

               actions currently pending or to be instituted against the Plaintiffs or

               any members of the classes; and

           C. Order other appropriate declaratory relief.




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